Order filed September 1, 2016




                                     In The

                     Fourteenth Court of Appeals
                                  ____________

                             NO. 14-16-00389-CV
                                  ____________

  CYPRESSWOOD LAND PARTNERS I AND STEPHEN A. MORROW,
                        Appellants

                                       V.

            BEIRNE, MAYNARD AND PARSONS, LLP, Appellee


                    On Appeal from the 151st District Court
                            Harris County, Texas
                      Trial Court Cause No. 2014-48326

                                  ORDER

      Appellants’ brief was due August 25, 2016. No brief or motion for extension
of time has been filed.

      Unless appellant Stephen Morrow files a brief with this court on or before
September 26, 2016, the court will dismiss the appeal for want of prosecution. See
Tex. R. App. P. 42.3(b).
      On August 30, 2016, the court requested that appellant Cypresswood Land
Partners I obtain counsel to represent it in this appeal and file a notice of appearance
by September 15, 2016. See Kunstoplast of Am. v. Formosa Plastics Corp., USA,
937 S.W.2d 455, 456 (Tex. 1996) (only a licensed attorney may appear and represent
a corporation in litigation).

                                    PER CURIAM
